Case 3:17-cv-00765-MHL-RCY Document 12 Filed 08/23/18 Page 1 of 2 PageID# 212


                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                        Richmond Division
SUNDARI K.PRASAD,

        Plaintiff,
V.                                                                     Civil Action No.3:17CV765

PAPER MOON/PURE PLEASURE,et aL,

        Defendants.
                                   MEMORANDUM OPINION


        Sundari K. Prasad, a Virginia inmate proceeding pro se, submitted this action, and at least

fifty other civil actions over the prior two years. Prasad's actions have been dismissed as

frivolous and malicious, or for failure to state a claim, or because she has failed to follow the

directives of the Court. Prasad's many actions have strained the resources ofthe Court.

        Litigants have an obligation to "'Stop, Think, Investigate and Research' before filing

 papers either to initiate a suit or to conduct the litigation." Gaiardo v. Ethyl Corp.^ 835 F.2d 479,

482(3d Cir. 1987). Prasad has ignored this obligation and flooded the Court with her inchoate

claims for relief.

        Additionally, Prasad has engaged in a consistent pattern of disregarding the directives of

the Court. For example, the Court has informed Prasad that she may not tack on allegations or

 defendants to a complaint through partial amendments, but must file a comprehensive amended

complaint. Prasad has ignored that directive. Moreover, because of the nature of her rambling

 complaints, it has been necessary for the Court to direct Prasad to file a particularized complaint

in each action she has filed. Those particularized complaints are often no better than the original

 complaint. Even after filing a particularized complaint, and despite being repeatedly directed not

 to do so, Prasad continued to submit mere amendments to tack on claims or defendants which

 she may not do. As the Court has explained to Prasad ad nauseum, although Prasad's pro se

 status makes her "entitled to some deference," it does not relieve her of her duty to abide by the
Case 3:17-cv-00765-MHL-RCY Document 12 Filed 08/23/18 Page 2 of 2 PageID# 213


rules and orders ofthis Court. Ballard v. Carlson, 882 F.2d 93, 96 (4th Cir. 1989)(citation

omitted). Prasad has refused repeatedly to comply with the Court's directives. Further, many of

the claims in Prasad's cases are repetitive of claims made in prior actions.

        More recently, because Prasad has not liked the disposition of her actions, Prasad has

 begun to name the undersigned as a defendant, simply because of the adverse decision. Prasad

 believes that naming the undersigned as a defendant requires recusal of the undersigned.

 However, that is simply not the case. An unfavorable ruling fails to constitute a valid basis for

recusal or a judicial bias claim. United States v. Williamson, 213 F. App's 235, 237-38 (4th Cir.

2007)(citing Liteky v. United States, 510 U.S. 540,555 (1994)). Rather, Prasad's addition of the

undersigned as a defendant in both pending and closed civil actions is both abusive and done in

bad faith. Another judge of this Court has also found that Prasad's attempt to have the

undersigned recuse herself for this reason was taken in bad faith. See Prasad v. Gothic Beauty

Magazine, No. 3:17CV446(E.D. Va. May 4, 2018), ECF Nos. 15, 16.

        By Memorandum Order entered on July 9, 2018,the Court directed Prasad, within

fourteen (14)days ofthe date of entry thereof, to submit a certificate of compliance in order to

assist in monitoring Prasad's repetitious and multiplicitous litigation. The Court warned Prasad

that the failure to submit an appropriate certificate of compliance would result in the summary

dismissal ofthis action.

        More than fourteen(14) days have elapsed since the entry ofthe July 9, 2018

 Memorandum Order and Prasad has not responded. Accordingly, the action will be

DISMISSED WITHOUT PREJUDICE.

        An appropriate order will accompany this Memorandum Opinion.

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                                                      M. Hannah Lauck
          * 11 o n n o n 10                           United States District Judge
Date: AU6 23 2Ulb
Richmond, Virginia
